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                     Exhibit 19U
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From:             Cantor, Daniel A.
To:               Michael Juneau
Cc:               Steve Herman; James Roy; Patrick Juneau; Christine Reitano; Holstein, Mark E; Moskowitz, Keith
Subject:          Accountant Questions--For Settlement Purposes Only
Date:             Tuesday, December 11, 2012 11:05:10 PM



Dear Mike,

Thanks to you and the accounting vendors for providing an opportunity to discuss some important
accounting issues. Per your request, we have listed below several questions that we would like to
discuss with the accounting vendors at the forthcoming, to be scheduled meeting. If you or the
accountants need any clarifications, just let us know. Thanks again.

    1.       How do you determine what month revenue is earned in for purposes of the BEL causation
             and compensation frameworks?

             a.        By way of example, if a construction firm receives a lump sum payment in Month
                       1 to cover work performed in Months 1-3, what month(s) is the lump sum payment
                       treated as being earned in for purposes of the BEL causation and compensation
                       frameworks?

             b.       Is the approach the same for all industries?

    2.       The BEL compensation framework requires one to (i) sum the monthly revenue over the
             period and (i) subtract the corresponding variable expenses for revenue over the same time
             period. Settlement Agreement, Ex. 4C, p.2. How do you identify “corresponding variable
             expenses” associated with given revenue?

             a.        By way of example, if in June and July of a given year a claimant incurs expenses
                       for revenue received in August, how are the corresponding variable expenses for
                       the revenue received in August determined?

    3.       There are numerous indicators in a P&L that revenue and expenses may not be matched.
             For example, (i) the presence of negative margins, and (ii) large monthly variances in
             margins, revenues and/or expenses that are not explained by seasonal or other patterns of
             the business. When such indicators are present, what steps do you take to determine
             whether the financial data is accurate?

    4.       If financial data submitted by a claimant does not accurately assign revenue to the months
             in which it was earned, what steps do you take to obtain financial data that accurately
             reflects the earning of revenue by month?

    5.       Where a claimant retail establishment purchases large amounts of inventory during Month
             1 and then sells that inventory during Months 1-4, how is the inventory (Costs of Goods
             Sold) accounted for? If the financial data submitted by the claimant reports all of the costs
             of inventory in Month 1, do you accept this designation?

    6.       If financial data submitted by a claimant does not match revenue with corresponding
             variable expenses on a monthly basis, what steps do you take to obtain financial data that
             accurately reflects the matching?

    7.       It would be helpful to discuss the following hypotheticals:

             a.        Claimant is a construction company that purchases $40 in materials in June, and
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             then performs half of the job in July and half in August, incurring $20 dollars in
             labor costs in each month, and gets paid $100 for the job in September. For
             purposes of the BEL framework, how would you account for revenue and expenses
             in June-September?

         b.       Claimant is a law firm representing a personal injury plaintiff on a contingency fee
                  basis. Firm attorneys are paid $10 an hour, and spend 10 hours researching the
                  case in June, 20 hours submitting briefs in July, and 30 hours taking depositions in
                  August. In September a settlement is reached, and the Firm receives a $2,000
                  contingency fee payment. For purposes of the BEL framework, how would you
                  account for revenue and expenses in June-September?

         c.        Claimant is a farmer who plants his crop in April and has associated labor and
                   material costs of $100 getting the crop in the ground. Between May and
                   September the farmer has $40 monthly expenses maintaining and nurturing the
                   crop ($200 total for the 5 months), and then incurs $100 in labor costs for October
                   when the crop is harvested. The harvested crop is taken to market and sold for
                   $1,000 on November 27 annually with all revenue recorded in that month against
                   $100 in selling costs. For purposes of the BEL framework, how would you account
                   for revenue and expenses in April-November?

         d.       Same scenario as C. above except that in 2010 the farmer sells the entire crop on
                  December 2 rather than November 27. How do you compare revenue from the sale
                  of the crop in 2010 and prior years given that the sale happened in a different
                  month in 2010?

 8.       For construction claims, do you request that the claimant provide year-end job schedules or
          other information that reports billings and expenses on a project basis? If yes, how do you
          use this information?

 9.       For claims by law firms, how do you (i) determine when across the life of a case a
          contingency fee is earned and (ii) match revenue with variable expenses?

 10. Where financial data list “negative revenue”, how is such “negative revenue” treated for
     purposes of the BEL causation and compensation frameworks?

         a.        If “negative revenue” is input into the causation and compensation frameworks,
                   what is the basis given that revenue cannot be less than zero?

         b.       If “negative revenue” reflects a one time adjustment due to overstatement of
                  revenue in one or more prior months such that it does not reflect actual economic
                  performance in the month the “negative revenue” is recorded, what steps are taken
                  to accurately measure revenue and expenses in the month in which the negative
                  revenue is recorded as well as in the earlier period that is the subject of the
                  correction?

         c.        In cases where a law firm backs out a large portion of payroll in December to
                   account for Owner’s Compensation, how is this adjustment accounted for in the
                   framework as most times it results in a negative variable payroll?

 11. Where financial data list “negative expense”, how is such “negative expense” treated for
     purposes of the BEL compensation framework?

         a.        If “negative expense” is input into the compensation framework, what is the basis
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                        given that an expense cannot be less than zero?

                  b.       If “negative expense” reflects a one time adjustment due to overstatement of
                           expense in one or more prior months such that it does not reflect actual economic
                           performance in the month the “negative expense” is recorded, what steps are taken
                           to accurately measure expenses in the month in which the “negative expense” is
                           recorded as well as in the earlier period that is the subject of the correction?

      12. Do you include “other income” in revenue for purposes of the BEL causation and
          compensation frameworks? If yes, what is the basis? If it depends, under what
          circumstances?

      13. For claims where the claimant is a law firm, do you include “reimbursable costs” as
          revenue if they are included as revenue in the claimant’s P&L? If yes, what is the basis?
          If it depends, under what circumstances?

      14. Where a claimant ceases a line of business during the benchmark period, do you include
          revenue from the terminated line of business in the BEL calculation? For example, if a
          claimant rented commercial properties in 2007 but sold those properties at the beginning of
          2008, would you include 2007 revenue from the properties in the calculation?




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